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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Civil Action No. 05-cv-00727-EWN-BNB

   CEZER MORRIS, et al.,

                  Plaintiff,

   v.

   TRAVELERS INDEMNITY COMPANY OF AMERICA, a Connecticut corporation,

                  Defendant.


                   PLAINTIFF’S MOTION FOR ENLARGEMENT OF TIME
                     TO ENDORSE EXPERT WITNESSES (UNOPPOSED)


           Certificate pursuant to Rule 7.1: Counsel for the Plaintiff has conferred with counsel
   for the Defendant, and counsel for Defendant does not oppose the relief requested herein.

          COMES NOW the Plaintiff, CEZER MORRIS, by and through his undersigned
   attorneys, and moves this Honorable Court for an extension of time in which to endorse expert
   witnesses, and as grounds therefore, states:

          1.      According to the Scheduling Order in this matter, the deadline for endorsement of
   expert witnesses is October 19th, with rebuttal experts to be endorsed on November 21, 2005.

          2.      Because of delays in providing documents to the Plaintiff’s counsel, and in
   designating Rule 30(b0(6) witnesses, the Plaintiff’s counsel has only received supplemental
   discovery responses on September 30th, and conducted a Rule 30(b)(6) deposition of a
   Travelers’ representative on October 5, 2005.

           3.     As such, there is inadequate time to provide a transcript of any depositions or any
   exhibits to any expert, and give that person adequate time to evaluate those documents by
   October 19th.

          4. Plaintiff’s counsel believes that an extension of time until November 2, with rebuttal
   witnesses thereafter due on November 28th, would allow sufficient time to obtain any such
   opinions.
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   WHEREFORE, the Plaintiff moves for an Order of this Court, extending the time for Expert
   Disclosures until November 2, 2005, with rebuttal experts being due on November 28, 2005.

          Respectfully submitted this 13th day of October, 2005.

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                             CERTIFICATE OF SERVICE (CM/ECF)

          I hereby certify that on October 13, 2005, electronically filed the foregoing with the Clerk
   of Court using the CM/ECF system which will send notification of such filing to the following e-
   mail addresses:

          jelliff@mofo.com
          markelb@fdazar.com

          I hereby certify that on October 13, 2005, a true and correct copy of the above and
   foregoing was served on the following by United States Mail, postage prepaid:

          Cezer Morris
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